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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                              )
    In re                                                     )     Chapter 11
                                                              )
    TOUGH MUDDER INC., et al.,1                               )     Case No. 20-10036 (CSS)
                                                              )
                            Debtors.                          )     Joint Administration Requested
                                                              )

                     NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
                     HEARING ON FEBRUARY 25, 2020, AT 1:00 P.M. (EST)

MATTERS UNDER CERTIFICATION

1.          Chapter 11 Trustee’s Motion for Entry of an Order Directing the Joint Administration of
            the Debtors’ Chapter 11 Cases (D.I. 37, Filed 2/11/20).

            Objection Deadline: February 18, 2020, at 4:00 p.m. (EST).

            Responses Received: None.

            Related Pleadings:

            a)      Certificate of No Objection Regarding Chapter 11 Trustee’s Motion for Entry of
                    an Order Directing the Joint Administration of the Debtors’ Chapter 11 Cases
                    (D.I. 55, Filed 2/19/20).

            Status: A certificate of no objection was filed. No hearing is necessary unless the Court
            has questions.

2.          Chapter 11 Trustee’s Motion for Entry of an Order Authorizing Debtors’ Chapter 11
            Trustee to File a Consolidated List of Debtors’ 20 Largest Unsecured Creditors (D.I. 38,
            Filed 2/11/20).

            Objection Deadline: February 18, 2020, at 4:00 p.m. (EST).

            Responses Received: None.

            Related Pleadings:


1
            The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
            identification number, are: Tough Mudder Inc. (2576) and Tough Mudder Event Production Inc. (6845).
            The Debtors’ address is 15 MetroTech Center, Brooklyn, NY 12201.
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     a)     Certificate of No Objection Regarding Chapter 11 Trustee’s Motion for Entry of
            an Order Authorizing Debtors’ Chapter 11 Trustee to File a Consolidated List of
            Debtors’ 20 Largest Unsecured Creditors (D.I. 56, Filed 2/19/20).

     Status: A certificate of no objection was filed. No hearing is necessary unless the Court
     has questions.

3.   Chapter 11 Trustee’s Motion for Entry of an Order Pursuant to Bankruptcy Rule 1007(c)
     Extending the Time to File Schedules of Assets and Liabilities and Statements of
     Financial Affairs (D.I. 39, Filed 2/11/20).

     Objection Deadline: February 18, 2020, at 4:00 p.m. (EST).

     Responses Received: None.

     Related Pleadings:

     a)     Certificate of No Objection Regarding Chapter 11 Trustee’s Motion for Entry of
            an Order Pursuant to Bankruptcy Rule 1007(c) Extending the Time to File
            Schedules of Assets and Liabilities and Statements of Financial Affairs (D.I. 57,
            Filed 2/19/20).

     Status: A certificate of no objection was filed. No hearing is necessary unless the Court
     has questions.

MATTERS GOING FORWARD

4.   Chapter 11 Trustee’s Motion for Entry of an Order (I) Approving Entry Into and
     Performance Under Asset Purchase Agreement by and Among Spartan Race, Inc., and
     Debtors’ Chapter 11 Trustee, (II) Authorizing the Sale of Substantially All of the
     Debtors’ Assets Free and Clear of All Liens, Claims, Encumbrances, and Interests, (III)
     Approving the Assumption and Assignment of Certain Contracts and Related Procedures,
     (IV) Approving the Bid Protections, and (V) Granting Related Relief (D.I. 30, Filed
     2/7/20) (the “Sale Motion”).

     Objection Deadline: February 20, 2020, at 4:00 p.m. (EST); further extended to February
     21, 2020, at 4:00 p.m. (EST) for Event Medic NY, Inc.

     Responses Received:

     a)     Opposition to Chapter 11 Trustee Motions to Sell Assets Free and Clear and
            Approve Assumption of Certain Contracts (D.I. 59, Filed 2/20/20).

     Related Pleadings:
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     a)     Order Shortening Notice and Objection Periods and Limiting Notice for the
            Chapter 11 Trustee’s Motion for Entry of an Order (I) Approving Entry Into and
            Performance Under Asset Purchase Agreement by and Among Spartan Race, Inc.,
            and Debtors’ Chapter 11 Trustee, (II) Authorizing the Sale of Substantially All of
            the Debtors’ Assets Free And Clear of All Liens, Claims, Encumbrances, and
            Interests, (III) Approving The Assumption and Assignment of Certain Contracts
            and Related Procedures, (IV) Approving The Bid Protections, and (V) Granting
            Related Relief (D.I. 40, Entered 02/12/20); and

     b)     Statement of Creditor Active Network LLC in Support of Chapter 11 Trustee’s
            Motion for Entry of an Order (I) Approving Entry Into and Performance Under
            Asset Purchase Agreement by and Among Spartan Race, Inc., and Debtors’
            Chapter 11 Trustee, (II) Authorizing the Sale of Substantially All of the Debtors’
            Assets Free and Clear of All Liens, Claims, Encumbrances, and Interests, (III)
            Approving the Assumption and Assignment of Certain Contracts and Related
            Procedures, (IV) Approving the Bid Protections, and (V) Granting Related Relief
            (D.I. 53, Filed 2/19/20).

     Status: This matter is going forward.

5.   Notice of Assumption and Assignment of Certain Events and Executory Contracts and
     Proposed Cure Amounts (D.I. 33, Filed 2/7/20).

     Objection Deadline: February 20, 2020, at 4:00 p.m. (EST); further extended to February
     21, 2020, at 4:00 p.m. (EST) for Beachbody LLC.

     Responses Received:

     a)     Objection to the Chapter 11 Trustee’s Motion for Entry of an Order (I) Approving
            Entry Into and Performance Under Asset Purchase Agreement by and Among
            Spartan Race, Inc., and Debtors’ Chapter 11 Trustee, (II) Authorizing the Sale of
            Substantially All of the Debtors’ Assets Free and Clear of All Liens, Claims,
            Encumbrances, and Interests, (III) Approving the Assumption and Assignment of
            Certain Contracts and Related Procedures, (IV) Approving the Bid Protections,
            and (V) Granting Related Relief (D.I. 58, Filed 2/20/20) filed by Storm Events,
            LLC (“Storm Events”); and

     b)     Limited Objection to Proposed Sale and Assignment (D.I. 60, Filed 2/20/20) filed
            by Old Bridge Township Raceway Park, Inc. (“Raceway Park”).

     Related Pleadings:

     a)     Supplemental Notice of Assumption and Assignment of Certain Events and
            Executory Contracts and Proposed Cure Amounts (D.I. 61, Filed 2/20/20).
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      Status: The Trustee intends to submit a revised proposed form of sale order which
      resolves the pending cure issues of Raceway Park and Storm Events. This matter is
      going forward in connection with the Sale Motion.

Dated: February 21, 2020             MORRIS, NICHOLS, ARSHT & TUNNELL LLP
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                                       Proposed Counsel for Derek C. Abbott, Esq., as
                                       Chapter 11 Trustee to Tough Mudder Inc. and
                                       Tough Mudder Event Production Inc.
